     Case 1:17-cv-11008-MLW Document 331 Filed 06/04/18 Page 1 of 12



                IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MASSACHUSETTS

JANSSEN BIOTECH, INC.

                        Plaintiff,

                 v.
                                        Civil Action No. 1:17-cv-11008-MLW
CELLTRION HEALTHCARE CO., LTD.,
                                        PUBLIC-
CELLTRION, INC., and
HOSPIRA, INC.
                                        REDACTED VERSION
                        Defendants.



  DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION IN LIMINE NO. 12
        Case 1:17-cv-11008-MLW Document 331 Filed 06/04/18 Page 2 of 12



       There were a multitude of non-infringing alternatives available to Defendants as of the date

of first alleged infringement. Dkt. 303; Dkt. 265 Ex. 12 (Frohlich Rep. ¶ 23). Rightly fearing it

cannot win on the merits, Janssen now seeks to avoid having to deal with them altogether. But

Janssen misstates both the law and the facts. Specifically, it argues all but two such alternatives

should be excluded simply because Defendants have not implemented or tested them in the “real

world,” which, according to Janssen’s definition, makes them “theoretical” and “confusing” and

“Rube Goldberg concepts.” Dkt. 268 at 13. The law is squarely against Janssen.

       Grain Processing expressly held the “but for” world governs, not what happened in the

real world. Grain Processing Corp. v. Am. Maize-Prod. Co., 185 F.3d 1341, 1350 (Fed. Cir. 1999).

This is because, “[w]ithout the infringing product, a rational would-be infringer is likely to offer

an acceptable noninfringing alternative, if available, to compete with the patent owner rather than

leave the market altogether.” Id. In contrast, in the real world, an accused infringer may justifiably

choose not to implement the available alternative because it “reasonably believe[s] it ha[s] a

noninfringing product.” Id. at 1354. That is the case here, and that was the case in Grain

Processing; nonetheless, the court found the alternative, which was not used during the infringing

period, to be “available.” Id.

       Likewise, in TQP Dev., LLC v. Merrill Lynch & Co. the court refused to exclude

alternatives on summary judgment where the evidence showed that customers “could easily obtain

the algorithm necessary to implement a non-infringing alternative.” No. 2:08-CV-471-WCB, 2012

WL 3283354, at *1 (E.D. Tex. Aug. 10, 2012). The court made this finding even though there was

no evidence that the algorithm needed for the alternative had actually been implemented in the

accused products, just that the algorithm had been “incorporated into the computer” for other

purposes. Id. Just as the customers in TQP had access to the necessary algorithms to implement




                                                  1
        Case 1:17-cv-11008-MLW Document 331 Filed 06/04/18 Page 3 of 12



the alternatives, there is no dispute here that Celltrion had access to the necessary materials (e.g.,

alternative magnesium sources, vendors, commercially available media) to implement the

proposed alternatives.

       The facts are also squarely against Janssen.         The record is replete with testimony,

documents, and admissions proving that there were numerous non-infringing substitute cell culture

media on the market and available to Celltrion as of the date of first infringement, October 2009.

As described in Defendants’ opposition to Janssen’s motion for summary judgment on non-

infringing alternatives, they available alternatives included, for example: (1) commercially

available media that were on the market, including one that Celltrion actually tested in 2008, and

another that                                                                      ; (2) the option to

modify the accused media to remove required claim ingredients, at least one which Janssen’s

expert admits

                                                                      ; (3) the option to modify the

media ingredients to match prior art media (which is already extremely close); and (4), having the

media manufactured overseas, either with HyClone (which has already been implemented and is

non-infringing) or with one of several manufacturers Celltrion already had a relationship with. See

Dkt. 303 at 4-8. The Court should deny Janssen’s motion.

I.     JANSSEN’S BRIEF MISSTATES AND MISAPPLIES THE LAW ON NON-
       INFRINGING ALTERNATIVES

       A.       Janssen’s “real world” argument contradicts the hypothetical reconstruction
                of the “but for” world the Federal Circuit requires.

       Janssen argues that only alternatives implemented in the “real world” may be used, and

anything else is merely “theoretical.” This argument was considered and rejected by the Federal

Circuit in Grain Processing, from which Janssen’s brief selectively quotes. As the Federal Circuit

held there:


                                                  2
        Case 1:17-cv-11008-MLW Document 331 Filed 06/04/18 Page 4 of 12



       Reconstructing the market, by definition a hypothetical enterprise, requires the
       patentee to project economic results that did not occur… [A] fair and accurate
       reconstruction of the “but for” market also must take into account, where relevant,
       alternative actions the infringer foreseeably would have undertaken had he not
       infringed… [O]nly by comparing the patented invention to its next-best available
       alternative(s) – regardless of whether the alternative(s) were actually produced
       and sold during the infringement – can the court discern the market value of the
       patent owner's exclusive right…

Grain Processing Corp. v. Am. Maize-Prods. Co., 185 F.3d 1341, 1350–51 (Fed. Cir. 1999). Thus,

Janssen’s argument fundamentally contravenes binding precedent. For that reason alone, Janssen’s

motion must be denied.

       Indeed, a so-called “real world” limitation would lead to unfair results. In the real world,

the accused infringer may have legitimate defenses against the allegations of infringement and

have little incentive to seek alternatives. That is the case here, especially given Janssen’s

unprecedented dozen-way doctrine of equivalents theory. See Dkt. 303 at 21. Grain Processing

addressed exactly this situation—the district court and Federal Circuit considered that the

defendant had not implemented the non-infringing design-around until after the damages period,

but nevertheless found the alternative “available,” in the “but-for” world and precluded lost profits,

noting that the defendant “reasonably believed it had a noninfringing product” prior to that time.

Grain Processing, 185 F.3d at 1354. Other courts have since affirmed availability can be based

on the capability of the accused infringer, despite the fact that the alternatives were not

implemented. See, e.g., TQP Dev., LLC v. Merrill Lynch & Co., 2012 WL 3283354, at *1 (finding

access to necessary algorithm precluded summary judgment of non-infringement, even though no

customer had actually used the algorithm to implement a non-infringing alternative); EMC Corp.

v. Pure Storage, Inc., 154 F. Supp. 3d 81, 118 (D. Del. 2016) (denying summary judgment because,

in part, “it would have been relatively simple for Pure to redesign the code to implement the

alternatives” despite having never done so for that alternative).



                                                  3
        Case 1:17-cv-11008-MLW Document 331 Filed 06/04/18 Page 5 of 12



        Moreover, Janssen’s mischaracterizations of the alternatives Defendants have offered as

“theoretical” has no connection to the law. Janssen selectively quotes Grain Processing for the

proposition that alternatives “only theoretically possible” are not “available,” but ignores the

guidance the court gave to actually determine whether an alternative is “available.” Dkt. 268 at 16.

Grain Processing directs courts to consider whether the accused infringer has the necessary

“materials, the equipment, the know-how and experience, and the economic incentive” to switch

to the alternative. Grain Processing, 185 F.3d at 1354.As to these factors the the jury is to use in

assessing whether the alternative is “theoretical” or “available.” Janssen doesn’t even dispute that

Celltrion possessed all such technical abilities and resources to switch to the alternatives it seeks

to exclude, or that it would have had the economic incentive to do so in the “but for” world. This

too, alone, warrants denying the motion.

        B.     Defendants had a multitude of available and acceptable non-infringing
               alternatives at their disposal.

        The alternatives Janssen seeks to exclude are hardly, as it claims, “Rube Goldberg concepts

–complex, convoluted, fragile, indirect.” Dkt. 268 at 17. To the contrary, they are well reasoned,

well grounded, and backed by the testimony of Dr. Frohlich, an undisputed expert in the field of

cell culture media:

    •   Modified media: Janssen concedes that




                         See Dkt. 238 (Memorandum in Support of Def’s Motion for Summary

        Judgment on Non-Infringing Alternatives), 303 (Def’s Opposition to Summary




                                                 4
           Case 1:17-cv-11008-MLW Document 331 Filed 06/04/18 Page 6 of 12



           Judgment on Non-Infringing Alternatives), and Def’s concurrently filed reply brief;

           Dkt. 298 at Resp. to ¶ 13.

       •   CD CHO: CD CHO was (and is) a commercially available alternative that was on the

           market and,

                             Dkt. 303 at 8. Janssen argues this version is not “optimized” (Dkt.

           268 at 15), but that’s not the proper inquiry; Dr. Frohlich opined, and Janssen does not

           dispute, that Celltrion would have been able to optimize CD CHO (if necessary) as it

           did to the accused media                                                        Janssen

           MIL Ex. 12, Frohlich Rep. ¶¶ 191-225.

       •   Outside the U.S. Manufacturers: Celltrion had all the necessary tools and resources

           to manufacture the media outside the United States.



                                                                         . Indeed, the lost profits

           analysis expressly requires a reconstruction of the “but for” world where the infringing

           product is no longer available. Grain Processing, 185 F. 3d at 1350.1 Second, Celltrion

           had prior, pre-validated working relationships with media manufacturers with

           facilities overseas that publicly advertised their ability to make media. Dkt. 304 at

           Resp. to ¶ 86; Dkt. 303 at 7-8.




1
    Janssen argues the other manufacturers were unavailable because

                                  Ex. 1, Butler Damages Reply ¶ 89; Dkt. 246 at 8. Not only does
this ignore the                                                       , it contradicts Janssen’s
infringement claim that “Celltrion controlled the development of the infringing media, directing
details of its composition and instructing HyClone to use the combinations of ingredients that
together infringe the claims of the 083 patent” (Dkt. 1 at ¶ 8).



                                                   5
        Case 1:17-cv-11008-MLW Document 331 Filed 06/04/18 Page 7 of 12



       As to those it doesn’t even seek to exclude, but which it nonetheless labels as “theoretical”

in its motion, Janssen is simply wrong. As will be shown at trial, CD Hybridoma is not a

“theoretical” alternative to the patent:



                                   . Dkt. 303 at 6. And the Singapore media has been implemented

by Defendants and does not infringe under 271(f) or otherwise. Dkt. 303 at 21-22; Dkt. 304 at

Resp. to ¶ 1.

       If anything is “Rube Goldberg[ian],” theoretical, and speculative, it is Janssen’s theories

as to why the non-infringing alternatives were allegedly not available. Janssen must argue that

that a short implementation period in 2009 somehow would cause a domino-effect, with delay

triggering delay, triggering delay, resulting in the postponement of Inflectra®’s launch seven years

later. Cf. Dkt. 303 at 9-10 (explaining the numerous reasons why there would be no delay in the

launch of Inflectra®).

       Janssen’s motion is nothing more than repackaging of its motion for summary judgment,

and should be denied for all the reasons in Defendants’ opposition to that motion. Dkt. 303. By

the same token, Janssen’s motion in limine reveals the weakness of its position as to the modified

media alternative that Defendants seek summary judgment on. Dkt. 238. Janssen is grasping at

straws with its outlandish characterization of that alternative—involving removing a single

ingredient and increasing another—as “complex” and “convoluted.” Dkt. 268 at 17. Accordingly,

Janssen’s motions on non-infringing alternatives should be denied, and Defendants’ summary

judgment motion granted.




                                                 6
        Case 1:17-cv-11008-MLW Document 331 Filed 06/04/18 Page 8 of 12



       C.      Celltrion only needed an alternative in 2009 (when the media was in
               development) that would have allowed an infliximab launch seven years
               later.

       Implicit in Janssen’s brief is the false premise that Defendants needed an alternative in

2009 that would, at that time, produce an infliximab biosimilar. E.g., Dkt. 268 at 13-14. But in

2009                                               with FDA approval and launch years away. Dkt.

303 at 1, 4. As discussed in Defendants’ opposition to Janssen’s summary judgment motion,

Janssen misapprehends the law and the facts; Celltrion simply needed an alternative in 2009 that

it could substitute into the development process and still launch seven years later. Id. As this Court

previously explained:

       [I]f Celltrion could, as a practical matter, have made [a] Remicade biosimilar…in
       the United States on about January 1, 2017—at a competitive price and on a
       comparable schedule—without infringing the '083 Patent, Janssen would not be
       entitled to recover any profits on Remicade that it lost to Inflectra.
                                              ****
       To decide whether it was feasible for Celltrion to have used a non-infringing media
       powder to produce Inflectra, it must be determined whether, starting on the date of
       first infringement, Celltrion could have switched to using a non-infringing
       alternative.

Janssen Biotech v. Celltrion Healthcare, 239 F. Supp. 3d 328, 330-31 (D. Mass. 2017). Thus, the

question is what alternative could Celltrion have switched to in the hypothetical “but for” world.

       Defendants expert Dr. Frohlich identified multiple non-infringing alternatives defendants

could have pursued in the “but for” world. E.g. Dkt. 265 Ex. 12 (Frohlich Rep. ¶ 23). Indeed, all

were acceptable to be used in Celltrion’s development process. And contrary to Janssen’s brief,

Janssen bears the burden of proving that these alternatives were not acceptable. Presidio

Components, Inc. v. Am. Tech. Ceramics Corp., 875 F.3d 1369, 1380 (Fed. Cir. 2017).

II.    JANSSEN’S 403 ARGUMENT SHOULD BE REJECTED

       Janssen’s argument that these alternatives should be excluded under FRE 403 as “Rube

Goldberg concepts –complex, convoluted, fragile, indirect,” really a rehash of its “theoretical” and


                                                  7
        Case 1:17-cv-11008-MLW Document 331 Filed 06/04/18 Page 9 of 12



“real world” arguments, should be viewed as nothing more than a ploy to get properly damaging

evidence excluded. Likewise, Janssen’s argument that Defendants should be limited to the two

alternatives actually explored in the real world, because Defendants “need only prove one”, should

be rejected. Dkt. 268 at 18. Janssen chose to pursue $1 billion in lost profits damages on an

unprecedented and strained theory of infringement, along with an equally unprecedented and

strained damages methodology that can be defeated by numerous non-infringing alternatives. See

Dkt. 240, Memo ISO Motion to Exclude the Opinion of Sean Nicholson, and Defendant’s

opposition to Janssen’s MIL No. 8, filed concurrently herewith. There is no basis to exclude, and

it would be particularly prejudicial to Defendants, to do so here, where Janssen seeks to mislead

the jury into thinking there were few if any alternatives Defendants could turn to during

development and still launch years later. See Janssen Biotech v. Celltrion Healthcare, 239 F. Supp.

3d 328, 330-31 (D. Mass. 2017).

        Janssen’s complaints of “confusion” are ironic to say the least. Janssen is asserting a paper-

thin 12-way doctrine of equivalents theory of infringement based on a multi-tier theory of

inducement and agency. Meanwhile, the alternatives Janssen seeks to exclude involve, for

example, removing a single ingredient and increasing another. And, although Janssen argues that

one alternative—switching to an overseas manufacturer—would involving “studying and

understanding the HyClone-Celltrion contract,” which Defendants contend can be done simply—

this is no basis for exclusion. The same contract is just as likely to come up in relation to Janssen’s

own convoluted theory of infringement, in which Janssen has to prove, somehow, that the actions

of third-party GE HyClone are attributable to Celltrion, and through Celltrion to Hospira.

        Janssen’s brief reveals the weakness of its position on non-infringing alternatives. It admits

that there is no special advantage to the ’083 Patent in relation to the profits it seeks, as the asserted




                                                    8
       Case 1:17-cv-11008-MLW Document 331 Filed 06/04/18 Page 10 of 12



claims “are not directed specifically to infliximab” (Dkt. 268 at 9), implicitly acknowledging that

other media would have worked for Celltrion’s purpose as well.



                                              And, Janssen itself doesn’t even use the ’083 patent

to make infliximab. In short, there is nothing special about the ’083 Patent that could not be

provided by Celltrion’s alternatives. That Janssen does not want to confront these facts, does not

justify their exclusion.

        Tellingly, Janssen does not engage directly in the Rule 403 standard. Janssen says the non-

infringing alternatives are “misleading, wasteful, confusing, or cumulative,” but ignores that

evidence may only be excluded where the “probative value of is substantially outweighed” by

those dangers. Fed. R. Evid. 403. Janssen’s argument, instead, is merely that it views these non-

infringing alternatives as weak (they are not). But, each alternative demonstrates that there is

nothing special about the ’083 patent media, that the economic value of the ’083 patent is limited,

and that Defendants would not have ceded the market in the “but for” world. The supposed dangers

of this evidence is minimal, particularly when compared to the confusing and convoluted theories

Janssen has put forth on infringement, invalidity, and damages.

        There is no legitimate dispute that Celltrion could have switched over to one of many

alternative cell culture media products during development and still launched on time. Dkt. 227,

306. Defendants are due the opportunity to rebut Janssen’s assertion by every reasonable means.

        Janssen’s motion should be denied.




                                                 9
     Case 1:17-cv-11008-MLW Document 331 Filed 06/04/18 Page 11 of 12



Dated: June 4, 2018                Respectfully submitted,

                                   Celltrion Healthcare Co., Ltd., Celltrion, Inc.,
                                   and Hospira, Inc.

                                   By their attorneys,

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                                    10
        Case 1:17-cv-11008-MLW Document 331 Filed 06/04/18 Page 12 of 12



                                 CERTIFICATE OF SERVICE

        I, Andrea L. Martin, hereby certify that this document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) and paper copies will be sent to those indicated as non-registered participants on June 4,

2018.

                                               /s/Andrea L. Martin, Esq.
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                                                 11
